Case No. 1:22-cv-00389-LTB Document 24-10 filed 04/18/22 USDC Colorado pg 1 of 3
                                          Exhibit 10


                                       Affidavit and Notice
                      Jefferson County, Colorado Planning and Zoning Division

          Building Permit for greenhouses on Agricultural Property Utilizing Hauled Water



     The Property described is a registered farm upon zoned agricultural real property in the State of
     Colorado, and is known as "The Vine Ranch. To obtain a building permit therein constructing
     greenhouse(s) on the described property (See Exhibit 1) Owmer attests that hauled water is used
     to supply the subject greenhouses because the onsite well is for "Inside Use Only" per Colorado
     statute.

     I , Kirk McDonald ("Owner") swear and affirm that due to well permit not allowing for irrigation,
     a cistern system will be used to provide water for the greenhouse(s). This will require that water
     be hauled for use of the greenhouse(s).

     This affidavit in no way provides that future property owners are able to obtain the same
     statutory or deeded water rights as the current owner of the subject property. This document is
     also intended to provide notice to all future property owners of the restrictions herein and the
     regulations of Jefferson County, Colorado regarding proof of adequate water prior to obtaining a
     building permit. For questions please contact the Planning and Zoning Division if you have any
     questions or concerns regarding compliance with the Jefferson County Zoning regulations.


     Address of Property:
     14309 Elk Mountain Trail
     Littleton, Colorado 80127


     Legal Description of Property:

     A Tract of Land situated within the Southwest One-Quarter of Section 30, Township 6 South,
     Range 69 West of the 6th P.M., described within Exhibit A (attached) Unincorporated,
     County of Jefferson, State of Colorado.
Case No. 1:22-cv-00389-LTB Document 24-10 filed 04/18/22 USDC Colorado pg 2 of 3
                                            Exhibit 10



       I, Kirk McDonald, agree to and will abide by the terms stated in this Affidavit and Notice.


       Owner:


        rint Name


       Signature


       S T A T E O F OOLORADO        )
                                     )ss.
       COUNTY OF


       The foregoing Affidavit and Notice was sworn to and acknowledged before me this/9 day of
        <py7y 2 0 ^ by
       Witness my hand and official seal.
                                                  My commission expires

          LAURA CORRALES
           NOTARY PUBLIC                          Notary Public
         STATE OF COLORADO
        NOTARY ID 20144033730
     MY COMMISSION SXPIRISS 08/28/2022

       Approved for Recording By:

       Jefferson County Planning and Zoning Division

       Signature:                ,                    .              Date:

       Print Name and Title:
Case No. 1:22-cv-00389-LTB Document 24-10 filed 04/18/22 USDC Colorado pg 3 of 3
          Exhibit "A"                                    Exhibit 10




                                                   ATTACHED L E G A L DESCRIPTION


                   A Tract of Land situated within the Southwest One-Quarter of Section 30, Township 6 South, Range 69 West
                   of the 6th P.M., described as foliows:

                   Beginning at a pomt from which the South One-Quarter Comer of said Section 30 bears South 54 Degrees 58
                   Minutes 54 Seconds East, a distance of 1032.18 feet and which Point is also on the Northerly line of a 50.00
                   foot Easeitient reserved for Public Road Purposes; thence South 27 Degrees 55 Minutes 30 Seconds West, 25.00
                   feet to a point on the Centerline of said 50.00 foot Road Easement; thence from an initial bearing of
                   North 62 Degrees 04 Minutes 30 Seconds West along a curve to the left having a Radius of 430.35 feet and a
                   Delta Angle of 13 Degrees 15 Minutes 15 Seconds an Arc distance of 99.55 feet; thence North 75 Degrees 19
                   Minutes 45 Seconds West 95.09 feet; thence along a curve to the right having a Radius of 121.55 feet and a
                   Delta Angle of 44 Degrees 43 Minutes 14 Seconds an Arc distance of 94.87 feet; thence North 30 Degrees 36
                   Minutes 31 Seconds West a distance of 89.31 feet; thence along a curve to the left having a Radius of 302.88
                   feet and a Delta Angle of 18 Degrees 44 Minutes 53 Seconds an Arc Distance of 99.11 feet; thence North 49
                   Degrees 21 Minutes 24 Seconds West 130.00 feet; thence departing from the Centerline of said 50.00 foot
                   Road Easement Nortli 40 Degrees 38 Minutes 36 Seconds East 25.00 feet to a point on the Northerly line of
                   said 50.00 foot Road Easement; thence North 43 Degrees 13 Minutes 33 Seconds East 371.89 feet to a point on
                   the Centerline of a Second 50.00 foot Easement reserved for Public Road Purposes; thence from an initial
                   bearing of South 46 Degrees 46 Minutes 22 Seconds East along said Centerline and along a curve toihe
                   left having a Radius of 70.00 feet and a Delta Angie of 39 Degrees 34 Minutes 38 Seconds an Arc distance of
                   48.36 feet; thence South 86 Degrees 21 Minutes 00 Seconds East 141.13 feet; thence along a curve to the right
                   having a Radius of 143.41 feet and a Delta Angle of 38 Degrees 26 Minutes 30 Seconds an Arc distance of 95.22
                   feet; thence South 47 Degrees 54 Minutes 30 Seconds East 35.00 feet; thence Departing from said Centerline
                   of the Second 50.00 foot Road Easement South 42 Degrees 05 Minutes 30 Seconds West 25.00 feet to a point on
                   the Southwesterly line ofsaid 50.00 foot Road Easement; thence South 08 Degrees 10 Minutes 53 Seconds
                   West 519.58 feet to the Point of Beginning,
                   County of Jefferson, State of Colorado.


                   Also Known as: V / L - Elk Mountain Trail, Littleton, CO 80127




                                                                                                           Escrow No. C:0284T7-072-m
                   r.OLBLNK
